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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO


 UNITED STATES OF AMERICA,                        )
                                                  )
                 Plaintiff,                       )                   Cr. No. 17-2558 MV
                                                  )
        vs.                                       )
                                                  )
 ARTHUR PERRAULT,                                 )
                                                  )
                 Defendant.                       )
                                                  )


                  UNITED STATES’ AMENDED PROPOSED VOIR DIRE

       The United States respectfully requests permission from the Court to ask prospective

jurors the following questions pertinent to the subject matter of this case.

                                              Religion

       1.       This case involves allegations of child sexual abuse by a Catholic priest. Do you

currently attend religious services on a regular basis?

       2.       Did you regularly attended religious services earlier in your life?

       3.       Did you attended religious services regularly as a child?

       4.       Are you or were you ever a practicing Catholic?

       5.       Were you an altar servers or did you have a similar role in religious services? If

so, what was your role?

       6.       Have you ever had a leadership role at a church or other place of worship? If so,

what was your role?

       7.       How to do feel knowing that this case involves allegations of sexual abuse by a

clergy member, specifically, a priest?
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       8.       Some Catholic priests or employees of a church will testify as witnesses in this

trial. How to you feel about that?

       9.       Would you give a witness’s testimony more credit simply because the witness is a

priest or an employee of a church?

       10.      Would you give a witness’s testimony less credit simply because the witness is a

priest or employee of a church?

       11.      Is there anything about a witness’s status as a priest or employee of a church that

would make you automatically believe the witness?

       12.      Is there anything about a witness’s status as a priest or employee of a church that

would make you automatically disbelieve the witness?

       13.      Is there anything about your religious beliefs that makes you reluctant to serve on

a jury in a case that might reflect poorly on the Catholic Church?

       14.      Is there anything about your religious beliefs or background that would interfere

with your ability to decide this case fairly and impartially?

       15.      For those of you who have not been involved in organized religion, is there

anything about the allegations against a priest that would interfere with your ability to be fair and

impartial?

                                         Counseling and Therapy

       16.      You are going to hear evidence that some witnesses in this case have received

counseling or therapy? How do you feel about that?

       17.      Do you think a witness who went to counseling or therapy is automatically

believable?

       18.      Do you think a witness who went to counseling or therapy is mentally ill?



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       19.      Do you think a witness who went to counseling or therapy isn’t believable?

       20.      What would you say to someone who suggests that counseling or therapy is

worthless or a waste of time?

       21.      Would you give more credit to a witness’s testimony because they have gone to

counseling or therapy?

       22.      Would you give less credit to a witness’s testimony because they have gone to

counseling or therapy?

       23.      Is there anything about witnesses receiving counseling or therapy that would

interfere with your ability to decide this case fairly and impartially?

                                               Civil Lawsuits

       24.      Have you ever filed a lawsuit against someone else? What was the case about?

What was the outcome of the case? Do you think the result of your case was fair?

       25.      Have you have ever filed a lawsuit against a corporation or other entity? What

was the case about? What was the outcome of the case? Do you think the result of your case

was fair?

       26.      Have you have ever been sued by someone else? What was the case about? What

was the outcome of the case? Do you think the result of your case was fair?

       27.      Have you have ever been sued by a corporation or other entity? What was the

case about? What was the outcome of the case? Do you think the result of your case was fair?

       28.      In this case, you will learn some of the witnesses filed lawsuits against the

Catholic Church and/or the Defendant claiming sexual abuse. Some of these witnesses received

monetary settlements from the Archdiocese. How do you feel as a potential juror knowing that

witnesses have filed lawsuits alleging sexual abuse?



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       29.     How to you feel knowing that witnesses have received payments in lawsuits

alleging sexual abuse?

       30.     Would the fact a witness has filed a lawsuit make you automatically believe the

witness?

       31.     Would the fact a witness has filed a lawsuit make you automatically disbelieve

the witness?

       32.     Would you find a witness’s testimony more believable simply because the witness

has filed a lawsuit?

       33.     Would you find a witness’s testimony less believable simply because the witness

has filed a lawsuit?

       34.     Would the fact a witness received a settlement make you automatically believe

the witness?

       35.     Would the fact a witness received a settlement make you automatically disbelieve

the witness?

       36.     Would you find a witness’s testimony more believable simply because the witness

received a settlement?

       37.     Would you find a witness’s testimony less believable simply because the witness

received a settlement?

       38.     Is there anything about lawsuits or settlements that would interfere with your

ability to decide this case fairly and impartially?

                                             Delayed Disclosure

       39.     You will hear evidence in this case that some of the witnesses accuse the

Defendant of abusing them as children. However, these witnesses will testify that they did not



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come forward and report the abuse until many years later when they were adults. How do you

feel about that?

        40.      Do you think a truthful witness would have disclosed the sexual abuse to others

immediately?

        41.      Do you think a truthful witness would have gone to the police or other authorities

immediately?

        42.      Do you think a witness who waited years to disclose alleged abuse must be telling

the truth?

        43.      Do you think a witness who waited years to disclose alleged abuse must not be

telling the truth?

        44.      Is there anything about a witness’s delayed disclosure that would interfere with

your ability to be fair and impartial?

        45.      The judge will give you specific instructions on how to evaluate the truthfulness

and credibility of witnesses. Can you follow those instructions? Even if they are different from

your own opinion or belief about what the law should be?

                                              Pretrial Publicity

        46.      This case has been publicized in newspapers, on television and radio, and on the

internet. Have you read or heard anything about this case prior to coming here today?

        47.      Has anything that you have read or heard about this case caused you to form an

opinion about whether or not the defendant is guilty or not guilty of any crime charged in this

case?

        48.      If you have formed any such opinion, can you set that opinion aside and decide

this case based only on the law the Court gives you and the facts and circumstances of the case?



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        49.     Is there anyone who would be unable to put what they already know about this

case aside and decide whether the defendant is guilty or not guilty based solely on the evidence

presented in court and the judge’s legal instructions?

        50.     Is there anything else in your background, knowing what little you know about

the case at this point, that could affect your ability to be fair and impartial?



                                                        Respectfully submitted,


                                                        JOHN C. ANDERSON
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                                                        /s
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I hereby certify that a copy of this
motion was delivered via CM/ECF
to counsel for defendants.
 filed electronically
Sean J. Sullivan




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